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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
                                          :
MAUREEN CASSIDY,                          :
                                          :                CIVIL ACTION
                  Plaintiff,              :
                                          :
            v.                            :                No. 22-1102
                                          :
POND LEHOCKY GIORDANO, LLP,               :
                                          :
                  Defendant.              :
_________________________________________ :

                                           ORDER


       AND NOW, this 7th day of June, 2022, upon consideration of Defendant’s Motion to

Dismiss (Doc. No. 10), it is hereby ORDERED that the Motion is DENIED WITHOUT

PREJUDICE for failure to comply with Judge Goldberg’s Rule 12(b) Procedural Order,

https://www.paed.uscourts.gov/judges-info/district-court-judges/mitchell-s-goldberg.



                                            BY THE COURT:



                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.
